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 1                                                                  The Honorable Marsha J. Pechman

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 6
                              UNITED STATES DISTRICT COURT
 7
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9   CHRIS CARLSON, individually and on
     behalf of all persons similarly situated,          No. 2:20-cv-01150 MJP
10
                                      Plaintiff,        ORDER GRANTING JOINT MOTION
11
                                                        TO CONTINUE TRIAL DATE AND
12          v.                                          RELATED DATES

13   HOME DEPOT U.S.A., INC., a foreign
     corporation; and THE HOME DEPOT,
14   INC., a foreign corporation,
15
                                  Defendants.
16

17

18          THIS MATTER came before the Court on the Parties’ Joint Motion to Continue Trial
19   Date and Related Dates. The Court has considered the submissions of the parties and the
20
     records and files here, and is otherwise fully informed.
21
            IT IS HEREBY ORDERED that the Parties’ Joint Motion to Continue Trial Date and
22
     Related Dates is GRANTED. The date of trial and deadlines for trial-related dates are as
23

24   follows:

25

26

      ORDER GRANTING JOINT MOTION TO
      CONTINUE TRIAL DATE AND RELATED                     SCHROETER GOLDMARK & BENDER
                                                                401 Union Street ● Suite 3400 ● Seattle, WA 98101
      DATES− 1                                                     Phone (206) 622-8000 ● Fax (206) 682-2305
      (Case No. 2:20-cv-01150 MJP)
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 1    Type of Deadline                                                                            Deadline
      Plaintiff’s Disclosure of Expert Report(s)                                              February 3, 2022
 2

 3    Defendants’ Disclosure of Expert Report(s)                                            February 24, 2022

 4    Discovery Motions                                                                     February 16, 2022
 5    Discovery Completed                                                                       March 17, 2022
 6
      Dispositive Motions                                                                         April 13, 2022
 7
      Motions in Limine                                                                              June 6, 2022
 8

 9    Agreed pretrial order due                                                                    June 27, 2022

10    Trial briefs and Proposed Findings of Fact and Conclusions of Law                            June 29, 2022

11    Pretrial conference                                                                      June 29, 2022 at
12
                                                                                                            1:30 PM
13
      Trial Date                                                                                    July 25, 2022
14

15
            All other requirements set forth in the Order Setting Trial Date and Related Dates (Dkt.
16

17   No. 18) shall continue to apply.

18          IT IS SO ORDERED, this 10th day of November, 2021.
19

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21
                                                         A
                                                         Marsha J. Pechman
22                                                       United States Senior District Judge
23
     PRESENTED BY:
24

25    s/ Elizabeth Hanley
      SCHROETER GOLDMARK & BENDER
26

      ORDER GRANTING JOINT MOTION TO
      CONTINUE TRIAL DATE AND RELATED                    SCHROETER GOLDMARK & BENDER
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         Case 2:20-cv-01150-MJP Document 119 Filed 11/10/21 Page 3 of 3




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     Class Counsel
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19   Counsel for Defendants
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     ORDER GRANTING JOINT MOTION TO
     CONTINUE TRIAL DATE AND RELATED           SCHROETER GOLDMARK & BENDER
                                                 401 Union Street ● Suite 3400 ● Seattle, WA 98101
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